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UNITED sTATEs DISTRICT COURT Fn_zo zava o.c.
Western District of Tennessee

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Plainciff. ClEHk)US. D`TRKIT COUT

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VS. Case Number 2:99CR2 1 2-01

QUEENESTER LOUISE OWENS
Defendant.

J'UDGDENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or A£ter Nove:mber :L, 1987)

The defendant, Queenester Louise Owens, was represented by Randall Blake Tolley,
Esq.

It appearing that the defendant, who was convicted on July 30, 1999 in the above
styled cause and was placed on Supervised Release for a period of five (5) years. The
defendant's Supervised Release was revoked on April 23, 2004, given credit for one day
custody, with re-imposed twenty-four (24) month term of Supervised Release to begin on
April 23, 2004. The defendant has violated the terms of Supervised Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be imprisoned for a term of sixty (60) days with execution of sentence to
be deferred until after Jenuery 5, 2006.

Furthermore, no additional supervised release shall be imposed. However,
Restitution Penalty stands as previously imposed.

The defendant is allowed to remain released on present bond.

Signed this the 92 § day of July, 2005.

 

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Defendant's SS No.: XXX-XX-XXXX

Defendant's Date of Birth: 06/lgll972 `.
U.S. Marshal No.: 16653-076

Defendant's Mailinq Addres§i_1629 Winchester Rd.. Memphis, TN 38116.

   

UNITED sTATE DISTRICT COUR - WTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:99-CR-20162 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Randall Blake Tolley

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Stephen C. Parker

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Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

